      Dated: 10/23/2019




                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

IN RE:                                                 )
                                                       )
JAMES ROBERT JACKSON, Jr.                              )   BK No. 19-01746-MH3-7
dba STONEWALL FARM                                     )
                                                       )
       Debtor(s).                                      )

   AGREED ORDER BETWEEN TRUSTEE AND NATIONSTAR MORTGAGE LLC
   D/B/A MR. COOPER REGARDING AUTOMATIC STAY AND ABANDONMENT

       As evidenced by the signatures of counsel for Erica R. Johnson, Trustee (“Trustee”) and

Nationstar Mortgage LLC d/b/a Mr. Cooper (“Lender”), the parties have agreed to the entry of

this Agreed Order regarding the automatic stay and abandonment of the following real property

located at 1181 Neptune Road, Ashland City, Tennessee 37015 (“Property”).

       Upon agreement of the Trustee and Lender it is ORDERED as follows:

       A.      The automatic stay shall remain in effect for one hundred twenty (120) days from

the date of the entry of this Agreed Order, conditioned upon the Trustee obtaining a contract for

sale of the Property or setting an auction for the sale of the Property within the 120-day period. If

the Trustee obtains a contract for sale or sets an auction within the 120-day period, an additional

thirty (30) days will be allowed to execute the transfer of the Property to the purchaser(s). The

sale will be free and clear of liens, with the Lender’s lien attaching to the sale proceeds, if and

only if the highest bid or sale price results in an amount sufficient to satisfy the payoff amount

owed to the Lender. The Lender shall have no obligation to release its lien unless it is paid in full,




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with such payment being disbursed to the Lender from the closing of the sale.

       B.      In the event that the Trustee does not obtain a contract for sale or does not set an

auction date within the 120-day period, the automatic stay shall be lifted, and the Trustee will be

deemed to have abandoned the Property without further notice or filing.

       C.      It is further agreed that if the Trustee determines that there is no equity for the

bankruptcy estate in the Property, the Trustee shall enter into an agreed order abandoning the

Property.

     THIS ORDER WAS SIGNED AND ENTERED ELECTRONICALLY AS
INDICATED AT THE TOP OF THE FIRST PAGE.

Submitted for Entry:

/s/ Erica R. Johnson
Erica R. Johnson (BPR No. 30939)
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Attorneys for Lender




                                                                     This Order has been electronically
                                                                     signed. The Judge's signature and
                                                                     Court's seal appear at the top of the
                                                                     first page.
                                                                     United States Bankruptcy Court.

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